                                                                                         DISTRICT OF OREGON
                                                                                             FILED
                                                                                          September 19, 2018
                                                                                      Clerk, U.S. Bankruptcy Court

 

  Below is an Order of the Court.

 

 

 

 

                                                                            _____________________________
                                                                                   TRISH M. BROWN
                                                                                 U.S. Bankruptcy Judge

 

                                UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF OREGON
In re                                                      )    Case No. 18-33183-tmb11
                                                           )
COLONIAL OAKS MOBILE HOME PARK, LLC,                       )    ORDER SETTING SCHEDULING AND
                                                           )    MANAGEMENT CONFERENCE AND
                          Debtor.                          )    NOTICE OF DISMISSAL


           Pursuant to 11 U.S.C. ' 105(a), Fed. R. of Civ. P. 16, Bankr. R. 7016 and 9014, the court

directs the debtor in possession to appear in a case management conference on Wednesday, October 17,

2018, at 10:30 a.m. in Courtroom No. 4, U.S. Bankruptcy Court, 1001 SW Fifth Avenue, 9th Floor,

Portland, Oregon. Other interested persons may attend but are not required to do so. The purpose of the

conference is to expedite the Chapter 11 case by establishing early and continuing control, to discourage

wasteful litigation activities, and to facilitate settlement of disputed matters.

           Typically, matters to be discussed at the conference include the following:

           (1)       Motions for extension of time to assume or reject leases.

           (2)       Motions for relief from stay.

           (3)       Adequate protection.



 

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            (4)       Operation of the debtor=s business.

            (5)       Preview of the Chapter 11 plan (liquidation or workout; funding; timing of filing

                      disclosure statement and plan, including request to shorten or extend the exclusive

                      period for filing a disclosure statement and plan; estimated administrative expenses,

                      etc.).

            (6)       Designation as Chapter 11A fast track case.

            (7)       Feasibility.

            (8)       Applications for employment of professionals and anticipated budgets for

professionals employed by debtors in possession, committees, over-secured creditors, and others who

may expect to be paid from the estate.

            (9)       Whether debtor in possession has filed all pre-petition tax returns, and if not, when

the returns will be filed.

            (10)      The contents of a further scheduling and case management order to follow as a result

of the conference.

            Secured creditors, lien creditors, and others contemplating filing motions for relief from stay

are advised that many of the issues typically addressed in such motions are likely to be dealt with at the

scheduling and case management conference. Secured creditors may prefer to refrain from filing such

motions until after the conference.

            In order to provide sufficient information to meaningfully discuss management of the case,

            IT IS HEREBY ORDERED that:

            1. By October 12, 2018, the debtor in possession shall file with the court and serve a copy on

the U.S. Trustee, the Creditors= Committee, if any, and any parties requesting special notice:



 

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                     (a)        Cash flow analysis, prepared on a weekly basis, for the

                                upcoming 120-day period.

                     (b)        Historical financial information for the past three (3) years. If there is

                                seasonal variation in the debtor=s income and expenses, the historical

                                financial information shall include monthly recaps of income and expenses.

                     (c)        A statement of income and expenses since the date of filing of the petition

                                with an indication as to the amount of paid and unpaid expenses.

                     (d)        A budget with amounts the debtor in possession expects to incur for all

                                professional services during the Chapter 11 case. This budget shall be on a

                                monthly basis.

           2.        Any party who believes that the estate is liable for attorney’s fees, other professional

fees or costs shall file a monthly budget indicating the projected fees which the estate will be asked to

pay.

           NOTICE IS FURTHER GIVEN that if the debtor in possession fails to appear as required

and/or fails to file and serve the information required by the order, this case, may be dismissed or

converted to Chapter 7, without further notice or hearing, unless, at least three (3) days prior to the date or

the case management conference, a party in interest files a written objection thereto, setting forth the

specific grounds for such objection with BOTH: (1) the Clerk of Court, 1001 SW 5th Avenue, #700,

Portland, OR 97204, and (2) Nicholas J. Henderson, Motschenbacher & Blattner, LLP, 117 SW Taylor

Street, Suite 300, Portland, OR 97204.

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cc:     Nicbolas J. Henderson
        United States Trustee
        Creditors



 

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